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       LOPES V ORACLE CORPORATION, ET AL

         DEFENDANTS’ NOTICE OF REMOVAL
            PURSUANT TO 28 U.S.C. § 1332



                  EXHIBIT B          -   -
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                        Attorneys for Defendants
                      7 ORACLE AMERICA, INC. and JAMES SHARUM

                      8                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

                      9                                    FOR THE COUNTY OF SANTA CLARA

                     10

                     11 CORNELIUS LOPES,                                           Case No. 20CV368876

                     12                       Plaintiff,                           DEFENDANTS ORACLE AMERICA,
                                                                                   INC.’S AND JAMES SHARUM’S ANSWER
                     13                vs.                                         TO THE FIRST AMENDED COMPLAINT

                     14 ORACLE CORPORATION, JAMES
                        SHARUM,
                     15
                                  Defendants.                                      Complaint Filed: July 29, 2020
                     16

                     17               Defendants Oracle America, Inc., erroneously sued as Oracle Corporation, and James

                     18 Sharum respond to Plaintiff Cornelius Lopes’ (“Plaintiff”) First Amended Complaint (“FAC”) as

                     19 follows:

                     20               Pursuant to the provisions of Section 431.30 of the Code of Civil Procedure, Defendants

                     21 deny generally and specifically each and every allegation contained in Plaintiff’s FAC.

                     22               Defendants further deny, generally and specifically, that Plaintiff is entitled to the relief

                     23 requested, or that Plaintiff has been or will be damaged in any sum, or at all, by reason of any act,

                     24 breach, or omission by Defendants, or on the part of any of Defendants’ agents, representatives or

                     25 employees.

                     26               Further, Defendants assert the following defenses. In asserting these defenses, Defendants

                     27 do not assume the burden of proof as to matters that, as a matter of law, are Plaintiff’s burden to

                     28 prove.
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4870-5908-4821        DEFENDANTS’ ANSWER TO THE FIRST AMENDED COMPLAINT
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                      1                                           ADDITIONAL DEFENSES

                      2                                       FIRST AFFIRMATIVE DEFENSE

                      3               The FAC, and each cause of action set forth therein, fails to state facts sufficient to

                      4 constitute a cause of action against Defendants.

                      5                                     SECOND AFFIRMATIVE DEFENSE

                      6               Plaintiff’s claims are barred, in whole or in part, by the applicable statutes of limitations,

                      7 including but not limited to Code of Civil Procedure sections 335.1, 338, and 340 and Government

                      8 Code section 12960.

                      9                                      THIRD AFFIRMATIVE DEFENSE

                     10               Plaintiff’s claims are barred, in whole or in part, because Plaintiff did not exhaust his

                     11 administrative remedies in the manner required by law.

                     12                                     FOURTH AFFIRMATIVE DEFENSE

                     13               Plaintiff’s claims are barred, in whole or in part, because Defendants’ alleged unlawful acts

                     14 were justified and/or privileged and/or based on a mistake in fact.

                     15                                       FIFTH AFFIRMATIVE DEFENSE

                     16               Plaintiff’s claims are barred, in whole or in part, because his own actions and course of

                     17 conduct constitute a waiver of his claims in the FAC and of each purported cause of action

                     18 contained therein.

                     19                                       SIXTH AFFIRMATIVE DEFENSE

                     20               Plaintiff’s claims are barred, in whole or in part, by the doctrine of estoppel.

                     21                                    SEVENTH AFFIRMATIVE DEFENSE

                     22               Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.

                     23                                     EIGHTH AFFIRMATIVE DEFENSE

                     24               Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands.

                     25                                      NINTH AFFIRMATIVE DEFENSE

                     26               Plaintiff’s claims for damages are barred, in whole or in part, by his failure to mitigate his

                     27 alleged damages.

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                      1                                     TENTH AFFIRMATIVE DEFENSE

                      2               Plaintiff’s claims and alleged damages are barred, in whole or in part, because it would be

                      3 unjust enrichment.

                      4                                   ELEVENTH AFFIRMATIVE DEFENSE

                      5               Plaintiff’s claims are barred, in whole or in part, because in every employment action

                      6 challenged in the FAC, Defendants acted at all times in good faith based solely on legitimate

                      7 business reasons wholly unrelated to any statutorily impermissible factors.

                      8                                   TWELFTH AFFIRMATIVE DEFENSE

                      9               Plaintiff is barred, in whole or in part, from recovering punitive damages because

                     10 Defendants at all times made a good faith effort to comply with the law, and any actions taken

                     11 with respect to Plaintiff were done without malice, conscious disregard or reckless indifference to

                     12 his rights.

                     13                                 THIRTEENTH AFFIRMATIVE DEFENSE

                     14               Defendants allege that the prayer for punitive damages is barred in full or in part by the

                     15 United States and/or California Constitutions.

                     16                                 FOURTEENTH AFFIRMATIVE DEFENSE

                     17               Defendant Oracle is not liable for punitive damages because it did not (a) have advance

                     18 knowledge of the unfitness of any employee and employ that employee with a conscious disregard

                     19 of the rights and safety of others, or (b) authorize or ratify any wrongful conduct. (See Civ. Code

                     20 § 3294(b).)

                     21                                   FIFTEENTH AFFIRMATIVE DEFENSE

                     22               Plaintiff is barred from recovering punitive damages because Defendant Oracle has in

                     23 place policies to prevent discrimination in its workplace and made good faith efforts to implement

                     24 and enforce these policies.

                     25                                  SIXTEENTH AFFIRMATIVE DEFENSE

                     26               Any and all claims by Plaintiff based, in whole or in part, upon any alleged physical or

                     27 emotional injury or distress arising in the course and scope of employment are barred because

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                      1 Plaintiff’s sole and exclusive remedy, if any, for such injuries is governed by the California

                      2 Worker’s Compensation Act. (See Lab. Code § 3600 et seq.)

                      3                                SEVENTEENTH AFFIRMATIVE DEFENSE

                      4               Plaintiff’s alleged damages are barred or offset by the avoidable consequences doctrine

                      5 because Defendants exercised reasonable care to prevent and correct promptly any improper

                      6 behavior alleged by Plaintiff, and Plaintiff unreasonably failed to take advantage of the

                      7 preventative or corrective opportunities provided by Defendants, or to otherwise avoid harm to

                      8 himself.

                      9                                 EIGHTEENTH AFFIRMATIVE DEFENSE

                     10               Plaintiff’s claims and alleged damages are barred, in whole or in part, by the after-acquired

                     11 evidence doctrine.

                     12                                 NINETEENTH AFFIRMATIVE DEFENSE

                     13               Defendants deny that any of the actions they took towards Plaintiff were motivated by

                     14 discriminatory or any other unlawful animus. Defendants would have taken the same action even

                     15 if it had not relied upon any purported illegal motivation Plaintiff asserts he can establish.

                     16                                  TWENTIETH AFFIRMATIVE DEFENSE

                     17               Plaintiff’s cause of action for defamation is not actionable because any alleged statements

                     18 made by Defendants concerning Plaintiff were true.

                     19                                TWENTY-FIRST AFFIRMATIVE DEFENSE

                     20               Plaintiff’s cause of action for defamation is not actionable because any alleged statements

                     21 made by Defendants concerning Plaintiff were statements of opinion.

                     22                              TWENTY-SECOND AFFIRMATIVE DEFENSE

                     23               Plaintiff’s cause of action for defamation is not actionable because Plaintiff consented to

                     24 publication of any allegedly defamatory statements.

                     25               Defendants have not yet completed discovery or investigation regarding the FAC, and

                     26 accordingly, reserve their right to amend, modify, revise or supplement their Answer, and to plead

                     27 such further defenses and take such further actions as they may deem proper and necessary in their

                     28 defense upon the completion of said investigation and discovery.
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                      1               WHEREFORE, Defendants pray for judgment as follows:

                      2               1.     That judgment be entered in favor of Defendants and against Plaintiff and that the

                      3 FAC be dismissed with prejudice;

                      4               2.     That Defendants be awarded costs of suit;

                      5               3.     That Defendants be awarded their reasonable attorneys’ fees as may be determined

                      6 by the Court; and

                      7               4.     That the Court award such other and further relief as it deems just and proper.

                      8

                      9 Dated: March 21, 2022                                  ALLEN MATKINS LECK GAMBLE
                                                                                MALLORY & NATSIS LLP
                     10

                     11

                     12                                                        By:
                                                                                     BALDWIN J. LEE
                     13                                                              ALEXANDER NESTOR
                                                                                     Attorneys for Defendants
                     14                                                              ORACLE AMERICA, INC. and
                                                                                     JAMES SHARUM
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                      1                                             PROOF OF SERVICE

                      2        I am employed in the County of San Francisco, State of California. I am over the age of
                        eighteen (18) and am not a party to this action. My business address is Three Embarcadero
                      3 Center, 12th Floor, San Francisco, California 94111-4074.

                      4               On March 21, 2022, I served the within document(s) described as:

                      5               DEFENDANTS ORACLE AMERICA, INC.’S AND JAMES SHARUM’S ANSWER
                                      TO THE FIRST AMENDED COMPLAINT
                      6
                            on the interested parties in this action as stated below:
                      7
                        Cornelius Lopes                                          Plaintiff in Pro Per
                      8 6251 Quartz Place
                        Neward, CA 94560
                      9 Phone: 510-364-0640
                        Email: corneliuslopes@gmail.com
                     10

                     11              BY ELECTRONIC SERVICE VIA ODYSSEY eFile CA: By submitting an electronic
                                      version of the document(s) to ODYSSEY eFile CA, through the user interface
                     12               california.tylerhost.net. My electronic notification address is
                                      kmoulton@allenmatkins.com.
                     13
                               I declare under penalty of perjury under the laws of the State of California that the
                     14 foregoing is true and correct.

                     15               Executed on March 21, 2022, at San Francisco, California.

                     16

                     17                        Karen Moulton
                                             (Type or print name)                              (Signature of Declarant)
                     18

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       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                  -6-
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